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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

JAVIER RODRIGUEZ                          §
Plaintiff                                 §
                                          §
V.                                        § Cause No. 3:18-cv-00088-E-BH
                                          §
TARLAND, L.L.C., THOMAS MCGILL,           §
and TARA RUBSAMEN,                        §
Defendants                                §

     DEFENDANT TARA RUBSAMEN’S MOTION FOR SUMMARY JUDGMENT

       COMES NOW, Defendant Tara Rubsamen (“Rubsamen”), who files her Motion for

Summary Judgment and Brief in Support, seeking dismissal of Plaintiff Javier Rodriguez’ claim

because Rubsamen is not an Employer under the Fair Labor Standard Act (“FLSA”).

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                                                     ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served on all parties
and/or their counsel of record in accordance with Rule 5 of the Federal Rules of Civil Procedure.




                                             /s/   T. Chase Garrett
                                             T. Chase Garrett




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